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                  EXHIBIT

                               1
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                                                                                                                        DB2 / ALL
                                                                                                     Transmittal Number: 22607382
Notice of Service of Process                                                                            Date Processed: 01/25/2021

Primary Contact:           State Farm Enterprise SOP
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       State Farm Florida Insurance Company
                                              Entity ID Number 3461654
Entity Served:                                State Farm Florida Insurance Company
Title of Action:                              Lonnie Love vs. State Farm Florida Insurance Company
Matter Name/ID:                               Lonnie Love vs. State Farm Florida Insurance Company (10845463)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Fulton County State Court, GA
Case/Reference No:                            DFS#: 21-000029688/N/A
Jurisdiction Served:                          Florida
Date Served on CSC:                           01/25/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         Chief Financial Officer in FL on 01/13/2021
How Served:                                   Electronic SOP
Sender Information:                           Jamie B. Hernan
                                              678-275-4000

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
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                                                                                               *21000029688*

 CHI1F rrNANcIaL )FFICER
 JIMMY PATRONIS
      crmlnrrinRrn,s




                                                                  CASE #:    0000
LONNIE LOVE
                                                                  COURT:     STATE COURT
                                                                  COUNTY:    FULTON
PLAINTIFF(S)                                                      DFS-SOP #: 21-000029688

VS.

STATE FARM FLORIDA INSURANCE COMPANY

DEFENDANT(S)

SUMMONS, COMPLAINT, EXHIBIT




                                 NOTICE OF SERVICE OF PROCESS
NOTICE IS HEREBY GIVEN of acceptance of Service of Process by the Chief Financial Officer of the
State of Florida. Said process was received in my office by PROCESS SERVER on Wednesday, January
13, 2021 and a copy was forwarded by ELECTRONIC DELIVERY on Monday, January 25, 2021 to the
designated agent for the named entity as shown below.


          STATE FARM FLORIDA INSURANCE COMPANY
          LYNETTE COLEMAN
          1201 HAYS STREET
          TALLAHASSEE, FL 32301




*Our office will only serve the initial process(Summons and Complaint) or Subpoena and is not responsible
for transmittal of any subsequent filings, pleadings, or documents unless otherwise ordered by the Court
pursuant to Florida Rules of Civil Procedure, Rule #1.080




                                                                      Jimmy Patronis
                                                                      Chief Financial Officer




JAMIE B. HERNAN
ESQUIRE
THE HERNAN LAW FIRM, PC
10896 CRABAPPLE ROAD
                                                                                                        CF2
ROSWELL, GA 30075


                                        Office of the General counsel Service of Process Section
                                                                  -



                           200 East Gaines Street P.O. Box 6200 Tallahassee, FL 32314-6200 (850)413-4200
                                                -             -                          -
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                 Case 1:21-cv-00786-ELR                         Document 1-1                 Filed 02/24/21                Page 6 of 75
                                                                                                                       State Court of Fulton County
                                                                                                                                         **E FILE D**
                                                                                                                                        20EV007743
                                                                                                                                12/23/2020 1:14 PM
 GEORGIA, FULTON COUNTY                                                                        DO NOT WRITE IN THIS SpACEChrstopher   G. Scott, Clerk
                                                                                                                                       Civil Division

 STATE COURT OF FULTON COUNTY                                          '?CI\1L ACTION FILE #:
                     Civil Division




                                                                             TYPE OF SUIT                                                                JAN13 2021
 Lonnie Love
                                                                              I ]ACCOUNT                         PRINCIPAL $ TBD
                                                                              IX J CONTRACT
                                                                              I ] NOTE                           INTEREST $ TBD
                                                                                 ]TORT
Plaintiffs Name, Address, City State, Zip Code                                   ]PERSONAL INJURY                ATTY. FEES        BD
                                                                                  FOREIGN JUDGMENT
                            VS.                                                  )TROVER                        COURT COST$ TBD
                                                                                  SPECIAL LIEN
 State Farm Florida Insurance Company
                                                                                  NEW FILING
 Chief Financial Officer, 200 E. Gaines St.                                       RE-FILING: PREVIOUS CASE NO,

            Tallahassee               FL      32399

Defendant's Name, Address, City, State, Zip Code

               SUMMONS
TO THE ABOVE NAMED-DEFENDANT:
 You are hereby required to file with the Clerk of said court and to serve a copy on the Plaintiff's Attorney, or on Plaintiff if no Attorney, to-wit:
Name: Jamie B. Hernan The Hernan Law Firm
                              -




Address: 10896 Crabapple Road
City, State, Zip Code: Roswell, Georgia 30075                                                Phone No.: (678) 275-4000
An answer to this complaint, which is herewith served upon you, must be filed within thirty (30) days after service, not counting the day of service. If you
fail to do so, judgment by default will be taken against you for the relief demanded in the complaint, plus cost of this action. DEFENSES MAY BE MADE &
JURY TRIAL DEMANDED, via electronic filing or, if desired, at the e-filing public access terminal in the Self-Help Center at 185 Central Ave., SW.,
Ground Floor, Room TG300, Atlanta, GA 30303.

                                                                                            Christopher G. Scott, Chief Clerk (electronic signature)




SERVICE INFORMATION.
Served, this   _______   day of   -                        20
                                                                               DEPUTY MARSHAL, STATE COURT OF FULTON COUNTY

WRITE VERDICT HERE:
We, the jury, find for


This               day of                               20                                                                  Foreperson


                                                         (STAPLE TO FRONT OF COMPLAINT)
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                                                                                 State Court of  Fulton County
                                                                                                    **E FILED**
                                                                                                   20EV007743
                                                                                            12/23/2020 1:14 PM
                                                                                    Christopher G. Scott, Clerk
                                                                                                  Civil Division
                       IN THE STATE COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

 LONNIE LOVE

   Plaintiff,
                                                           Civil Action File Number:
 vs.

 STATE FARM FLORIDA INSURANCE
 COMPANY

   Defendant.


                                          COMPLAINT

         NOW COMES PLAINTIFF LONNIE LOVE, by and through the undersigned counsel,

and hereby files this Complaint against Defendant State Farm Florida Insurance Company (the

"Defendant") for breach of contract, unfair trade practices, punitive damages, costs of litigation,

and such other relief as this Court deems proper, as follows:

                                    NATURE OF THE CASE

         1. This matter arises out of Defendant State Farm Florida lnsurancc Company's breaches

            of the terms of that certain Personal Articles Policy identified by policy number 59-

            CK-5034-O (the "Policy," a copy of the policy documents are attached hereto as Exhibit

            A and incorporated herein), by which Plaintiff Lonnie Love insured certain personal

            property, and the unfair and discriminatory trade practices engaged in by Defendant in

            the processing of a claim for losses pursuant to the Policy.

                                                PARTIES

         2. PlaintiffLonnie Love is an individual who resides at times in the State of Florida and

            at times in the State of Georgia.

         3. Defendant is a Florida Profit Corporation.


                                                   1
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 4. Dcfcndant' registered agent according to the Florida Department of State is identified

     as Chief Financial Officer with an address of 200 F. Gaines St., Tallahassee, Florida

     32399 (the "Registered Agent").

 5. Defendant may be served as required by law including, without limitation, through the

     Registered Agent.

                           JURISDICTION AND VENUE

 6. The theft of personal property that is the basis of this action occurred in Fulton County,

     Georgia.

 7. The injury to Plaintiff complained of herein occui-red, at least in part, in Fulton County,

     Georgia.

 8. Plaintiff has ties to Fulton County, Georgia.

 9. Defendant has ties to Fulton County, Georgia.

 10. Defendant conducts business directly, or indirectly through affiliates, in the State of

     Georgia including, without limitation, in Fulton County.

 11. The mailing address listed on the Policy fbr Defendant is located in Atlanta, Georgia.

 12. The office of Defendant's counsel handling the Claim that is the subject of this matter

     is located in the State of Georgia, in Fulton County.

 13. The Claim that is the subject of this matter is being processed in the State of Georgia,

     in Fulton County.

  14. Defendant has availed itself to the jurisdiction of the State of Georgia.

  15. This court has jurisdiction over Defendant pursuant to all applicable law including,

     without limitation, O.C.G.A. § 9-10- 9 I.




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  16. Venue is proper in this matter in this Court pursuant to all applicable law including,

     without limitation, O.C.G.A. § 9-10-33.

  17. Venue is proper in this matter in this Court pursuant to all applicable law including,

     without limitation, O.C.G.A. § 9-10-93.

                        FACTS AND CAUSES OF ACTION

  18. On or about September 6, 2020, Plaintiff was the victim of a theft of his automobile

     and certain personal property contained in the vehicle (the "Theft")

  19. The Theft occurred in a public place in front of numerous witnesses.

  20. It is indisputable that Plaintiff's vehicle was stolen during the Theft.

  21. It is also indisputable that the personal property of Plaintiff contained in his vehicle at

      the time of the Theft was also stolen.

  22. The vehicle was later recovered; however, Plaintiff's personal property was missing

      from the recovered vehicle.

  23. Amongst the personal property missing from the stolen vehicle, were three items of

     jewelry that were stolen from the vehicle: (i) a Rolex Oyster Perpetual Datejust II watch

      (the "Rolex Watch"), (ii) a diamond ring with a single 5.05cts diamond and additional

      diamonds (the "Diamond Ring"), and (iii) a diamond band ring with approximately

      4.50cts diamonds (the "Band Ring," and collectively with the Rolex Watch and the

      Diamond Ring referred to herein as the "Jewelry Items").

  24. The Jewelry Items were insured through the Policy.

  25. The Rolex Watch has an appraised value of at least $29,200, as set forth in a written

      appraisal previously submitted to Defendant by Plaintiff (the "Rolex Appraisal")




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  26. Additional work had actually been clone to the Rolex Watch subsequent to the issuance

     of the Rolex Appraisal, increasing the value of the Rolex Watch.

  27. The Diamond Ring is the subject ofGlA Report #5191985382.

  28. The Diamond Ring has an appraised value of at least $98,500.00.

  29. The Band Ring has an appraised value of at least $9,500.00.

  30. The total value of the Jewelry Items is at least One Hundred Thirty-Seven Thousand,

     Two Hundred Dollars and Zero Cents ($137,200.00, the "Claim Value")

  3 1. Following the theft of the Jewelry Items, Plaintiff filed a claim with Defendant pursuant

     to the Policy, identified as claim number 59-1 1P3-20M (the "Claim"), to recover the

     damages associated with the theft of the Jewelry Items.

  32. For some unknown reason, which is suspected of being discriminatory in nature,

     Defendant immediately submitted the Claim to its special investigative unit.

  33. From the outset of the adjustment of the Claim, Plaintiff was treated as a criminal rather

     than as a valued customer of Defendant.

  34. The claims handler questioned Plaintiff regarding the timing of the Claim, referencing

     that the Policy had been established recently and suggesting that Plaintiff was acting

     fraudulently in the pursuit of the Claim.

  35. Again, the Theft was a public event that occurred in front of many witnesses and is well

     documented by publicly available incident reports.

  36. There is no waiting period related to claims filed pursuant to the Policy.

  37. The timing of the establishment of the Policy is irrelevant, especially considering that

     the Theft occurred spontaneously in public in front of numerous witnesses.




                                            4
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  38. There is no evidence to suggest that the Jewelry Items were not stolen in connection

     with the Theft.

  39. The claims handler questioned Plaintiff regarding the delay in producing a

     supplemental report to the City of Atlanta Police Department; however, it was made

     clear to such claims handler that the delay was due to the COVID- 19 related closure of

     the public office of the City of Atlanta Police Department's Central Records Unit and

     the fact that the reporting officer was unavailable to process the supplemental report.

  40. The claims handler required that Plaintiff submit a Sworn Statement in Proof of Loss,

     which Plaintiff submitted in September 2020.

  41. After receiving the necessary information to adjust the claim and make payment, and

     having no evidence to support a contention that the Jewelry Items were not stolen

     during the Theft, the claims handler instead assigned the Claim to an attorney in the

     State of Georgia to continue processing the Claim.

  42. Defendant insisted that Plaintiff conduct an examination under oath.

  43. Plaintiff objected to the need for the examination under oath; however, he provided the

     examination on November 5, 2020.

  44. The examination under oath was conducted essentially as an interrogation.

  45. Plaintiff was fully compliant with the requirements of the examination under oath and

     cooperated fully.

  46. Defendant's counsel requested additional documentation by letter dated November 2,

     2020 (the "First Document Request")

  47. In the First Document Request, Defendant requested all personal tax returns for the

     years 2018 and 2019, all bank statements for the period of March 6, 2020 to September
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     6, 2020, all credit card statements for the period of March 6.2020 to September 6,

     2020, all personal cell phone service statements for September 2020, utility bilk,

     mortgage statements, and lease agreements.

  48. The First Document Request contained requests for mostly irrelevant documentation

     that was unnecessary for Defendant to process and value the claim.

  49. Pursuant to Section 8 of the Policy, Plaintiff is required to "...produce such records as

     [Defendant] may need to verify the claim and its amount.

  50. At the time that Defendant submitted the First Document Request, Defendant had

     incident reports related to the Theft, photos of the Jewelry items, appraisals of the

     Jewelry Items, authorization from Plaintiff to proceed with retaining a third party

     jeweler to provide a valuation of the Jewelry Items and a cost to replace the Jewelry

      Items, a sworn affidavit regarding the theft of the Jewelry Items, as well as other

     documentary evidence.

  5 1. By letter dated November 10, 2020, Plaintiff requested that Defendant clarify how the

     documents requested in the First Document Request were relevant and required to be

     disclosed pursuant to the Policy.

  52. In response, l)efendant submitted a letter to Plaintiff dated December 1, 2020 (the

     "Second Document Request").

  53. In the Second Document Request, Defendant asked for a substantially different set of

      irrelevant documentation that was unnecessary for Defendant to verify the claim and

      its amount.

  54. Defendant has provided all of the relevant information requested by Defendant.




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  55. Despite the fact that months havepassed since the initiation of the Claim, and the

     approval by Plaintiff of Solomon Brothers as a third partyjeweler to provide a valuation

     of the Jewelry Items, upon information and belief, Defendant still has not retained

     Solomon Brothers, or any third party, to provide a valuation of the Jewelry Items (for

     replacement or direct compensation).

  56. Upon information and belief, Defendant does not intend to pay Plaintiff for his damages

     owed pursuant to the Claim.

  57. Upon information and belief, Defendant has constructively breached its obligations

     pursuant to the Policy and the processing of the Claim.

  58. There was no valid reason for the Claim to be handled by Defendant's special

     investigative unit.

  59. There was no valid reason for Defendant to delay the processing of the Claim by

     retaining an attorney to pursue an examination under oath of Plaintiff.

  60. Defendant has acted in a way that clearly suggests that it suspects Plaintiff of

     submitting a fraudulent claim related to the Jewelry Items, which has no basis in fact.

  61. There is no explanation for Defendant's treatment of Plaintiff.

  62. Upon information and belief, the absence of any other explanation suggests that

     Defendant has treated Plaintiff in the manner described herein because of his race.

  63. Upon information and belief, these actions are part of a pattern of behavior by

     Defendant.

  64. Plaintiff is currently investigating, and will continue to investigate through discovery,

     the practices of Defendant with respect to customers that are people of color.




                                            7
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           I T11formation and belief, Defendant elected to submit the Claim to its special
  65. Upon .

     investigative unit and require an examination under oath, as well as request voluminous

     irrelevant documents, because it suspects Plaintiff of submitting a fraudulent claim,

     solely because of his race.

  66. Defendant has refused to adjust the claim of Plaintiff as required by the Policy, and is

     in breach of the terms and conditions of the Policy.

  67. Upon information and belief, Defendant has discriminated against Plaintiff because of

     his race.

  68. Upon information and belief, the actions of Defendant constitute bad faith handling of

     the Claim.

  69. Upon information and belief, the actions of Defendant constitute unfair acts or practices

     in the business of insurance as set forth in O.C.G.A. § 33-6-4.

  70. Defendant had, and has, no valid basis for its mistreatment of Plaintiff and

     discriminatory handling of the Claim.

  71. Defendant's actions are willful and malicious and Plaintiff is entitled to the recovery

     of punitive damages in this matter.

  72. Defendant has caused Plaintiff unnecessary trouble and expense, acted in bad faith

     and has been stubbornly litigious. Wherefore, Plaintiff is entitled to recover his costs

      of litigation in this matter including, without limitation, attorney's fees pursuant to

     O.C.G.A. § 13-6-Il.

                             [Continued on following page.]




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  WHEREFORE, Plaintiff prays as follows:

         (a) That process issue and that Defendant be served according to law;

         (h) That Plaintiff has a judgment against Defendant for all damages allowed under

             law and in a manner to be proven at the time of trial;

         (c) That the costs of the within action be cast upon Defendant; and,

         (d) Such other, further and different relief as this Court deems just and appropriate.

  Respectfully submitted this 23(1 day of December 2020.



                                         THE HERNAN LAW FIRM, PC

                                        Is! Jamie B. 1-lernan
                                        Jamie B. Hernan, Esq.
                                        Georgia Bar Number: 348555
                                        10896 Crabapple Road
                                        Roswell, Georgia 30075
                                        Tel: (678) 275-4000
                                        Fax: (678) 265-4000
                                        Email: jamiehernanfirm.com
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                              EXHIBIT A

                           Policy Documents
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 S                                   am
                    A Stock uompany        it     om           nRRtaven, florida DECLARATIONS PAGE                    COVERAGE 8LWMARV
                                                                                                                      COT 26 2020
                    Po Box 8849                                                        Poky Number       59-CK.5034.O
                    A#.s'taG43O2599Of
                   Named Insured                                                       Poky Period         Effective Data Expiration Date
                                                       HI974SIFAEF      P     F        12 Months          JUN 152020       JUN 152021
                                                                                       'The policy period begins and ends at12:01 am
                   LOVE, LONNIE                                                        standard lime at the named icsured's address.
                            U




         PERSONAL ARTICLES POLICY
         AUTOMATIC RENEWAL-IfThePOUCY PERIOD is shown as 12 MONTHS, this p0 C will be renewed automatically subject to
         the premkims, rules and forms in effect for each sucoeedinQ poky period. IIthis policy is terminated we will give you
         and th e Morage&Lienhokler written notice in compliance with the policy provisions or as required by law.
                                         For questions, problems, or to obtain information about coverage call: 954-613-1010

                                                               Amount of
     t)lass of Property                                        Insurance
         Jewelry as scheduled                                $      137,200




     -        Forms, Options, and Endorsements                                    POUCY PREMIUM                       0       3,593.00
         PERSONAL ARTICLES POLICY              FP-7942
         AMENDATORY ENDORSEMENT                FE-7749
         LOSS SETTLEMENT ENDORSEMENT           FE-3357




     'NOTICE:        We have the option of repairing or
     replacing the lost or damaged property at our                          We will provide the insurance described in this policy in
     cost If we agree to a cash settlement, we will                         return for the premium and compliance with all applicable
     pay you no more than our cost to replace the Item.                     provisions of this policy.

         Your policy consists of this page, any endorsements
         and the poky f orm. PLEASE KEEP THESE TOGETHER.

     FP-70703C
          0616    251 I
                                Prepared        OCT26 2020            HBJRIOUEZ U'IS AND FIN SVCS INC
                                                                      954-613-1010
          6.7O   LI (WOSIj l. n-aa
30
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                           COTINUED FROM FRONT SIDE




PERSONAL ARTICLES POLICY




                                                                        o10392
                                                                        R.. 07-2002
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 StateFarm
              59-CK-S036-O             (0617)

                                                                                                                                        FE- T749
                                                                                                                                         (10/93)

                                                      AMENDATORY ENDORSEMENT
                                                              (Florida)
         CONDITIONS                                                                   (3) When this policy has been in effect for 90 days or
                                                                                          more, or at any time if it is a renewal with us, we may
         Suit Against (is, reference to "one year" is changed to "five                    cancel if there has been a:
         years".
                                                                                         (a) material misstatement;
         Loss Payment is replaced with the following:
                                                                                         (auhijm to comply with underwriting requirements
             Loss Payment. We will adjust all losses with you. We will
                                                                                           established by us within 90 days of the date this
             pay you unless some other person is named                                     coverage takes effect;
             is legally entitled to receive payment.Loss will be payable:
                                                                                         (C) substantial change in the risk covered by this po
             a. 20 days after we receive your proof of loss and reach                       icy, or
                agreement with you; or
                                                                                         (d)cancellation by us of all policies for a given class
             b. 60 days after we receive your prco of loss and:                             of insureds,
                (1)there is an entry of a final judgment; or                             We may cancel this policy by notifying you at least 45
                (2)there is a filing of an appraisal award with us,                      days before the date cancellation takes effect.
         Cancellation is replaced with the following:                                 (4) When this policy is written for a period longer than
                                                                                          one year, we may cancel at anniversary it there has
             Cancellation.                                                                been a:
             a. You may cancel this policy at any time by notifying us in                (a) material misstatement;
                writing of the date cancellation is to take effect. We may
                waive the requirement that the notice be In writing by                  (b)failure to comply with underwriting requirements
                confirming the date and time of cancellation to you in                     established by us within 90 days of the date this
                writing.                                                                   coverage takes effect;
             b. We may cancel this policy only forThe reasons stated in                 (c) substantial change in the risk covered by this pol-
                this condition. We will notify you in writing of the data                   icy; or
                cancellation takes effect. This cancellation notice may be              (d)cancellation by us of all policies for a given class
                delivered to you, or mailed to;vu at your mailing                          of insureds.
                address shown in the Declarations. Proof of mailing shall
                be sufficient proof of notice:                                          We may cancel this policy by notifying you at least 45
                                                                                        days before the date cancellation takes effect
               (1)When you have not paid the premium, we may cancel
                  at any time by notifying you at feast 10 days before           c. When this policy is cancelled, the premium forthe period
                  the date cancellation takes effect. This condition                from the date of cancellation to the expiration date wit be
                  applies whether the premium is payable to us or our               refunded.
                  agent or under any finance or cradit plan.                          When you request cancellation, the return premium will
               (2) When this policy has been in effect for less than 90               be based on our rules for such cancellation. The return
                   days and is not a renewal with ys, we may cancel for               premium may be less than a full pro rata refund. When
                   any reason. We may canceIw any reason other                        we cancel, the return premium will be pro rata
                  than nonpayment of premium, by notifying you at                d. The return premium may not be refunded with the notice
                   least 20 days before the clatp cancellation takes
                                                                                    of cancellation or when the policy is returned to us. In
                   effect. it we cancel because you have not paid the               such cases, we will refund it within a reasonable time
                   premium, we will notify you ateast 10 days before                after the date cancellation takes effect.
                  the date cancellation takes effe't.
                                                                              Non-Renewal, reference to "30 days" is changed to "45 days".
                                                                              All other policy provisions apply.
        FE .7745
        (10193)




 0617                                                                   (CONTINUED)
30
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                                                                                                         FE-357
                                                                                                       Page 1 of I


FE4357 LOSSSETTLEMENT ENDORSEMENT
The following is adda to the Loss Settlement provision of this policy
    Any property wepy for or replace becomes our property.
FE-3357
                                V, Copyrig ht State Farm Mutual Automobile Insurance Company, 2014
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                              -77~




                                              LFF
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                                                        TABLE OF CONTENTS


                                                             DECLARATIONS
                                                                   Your Name
                                                                   Policy Period
                                                                   Classes of Property
                                                                   Amounts of Insurance
                                                                   Deductibles


TABLEOF CONTENTS ..................................................................................

PROPERTY COVERED..................................................................................

TERRITORIAL LIMITS ............................... ... ................................................. .

LOSSES INSURED AND LOSSES NOT INSURED .......................................

CONDITIONS...................................................................................................

SPECIALCONDITIONS..................................................................................

OPTIONAL POLICY PROVISIONS ................................................................ .




FP-7942                                                                 1                                            Printed in
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                                                 PERSONAL ARTICLES POLICY
    In this policy, "you" and "your" refer to the "named insured"           same household. "We", "us" and "our" refer to the Company
                                                                                                                                         7
    shown in the Declarations and the spouse if a resident in the           shown in the Declaraons.


                                                        PROPERTY COVERED
    We cover the Classes of Property shown in the Declarations

                                                         TERRITORIAL LIMITS

    We cover the property described while it is                             covered only while within the United States and
    anywhere in the world. However, Fine Arts are                           Canada.

                                     LOSSES INSURED AND LOSSES NOT INSURED

    We insure for accidental direct physical loss or damage to              2.   Seizure or destruction under quarantine or customs
    the property covered except loss or damage caused directly                   regulations.
    or indirectly by any of the following. Such loss or damage is
    excluded regardless of any other cause or event which                   3.   Any order or law of a governmental or municipal
    contributes concurrently or in any sequence to the loss or                   authority.
    damage.
                                                                            4.   Risks of contraband, illegal transportation or trade.
    1.    War, including:
                                                                            5.   Nuclear Hazard, meaning:
          a.   undeclared war;
                                                                                 a.   any nuclear reaction, radiation or radioactive
          b.   civil war;
                                                                                      contamination, all whether controlled or
          c.   insurrection;                                                          uncontrolled or however caused; and
          d.   rebellion;                                                        b.   any effect of any of these.
         e.    revolution;
                                                                                 Loss caused by the nuclear hazard is not considered
          f.   warlike act by a military force or military personnel;            loss caused by fire, explosion or smoke, Direct loss by
         g.    destruction, seizure or use for a military purpose;               fire resulting from the nuclear hazard is covered.
               or
                                                                            6.   Mechanical breakdown, wear and             tear,   gradual
         h,    any effect of any of these.                                       deterioration and inherent vice.
         Discharge of a nuclear weapon will be deemed a                     7.   Vermin or insects.
         warlike act even if accidental.

                                                       SPECIAL EXCLUSIONS

    This policy does not apply:                                                  b.   to property on exhibition at fairgrounds or on the
                                                                                      premises of national or international expositions,
    1.   if Fine Arts are covered:                                                    unless the premises are covered by this policy.
         a.    to damage caused by any repairing, restoration or            2.   if Sports Equipment is covered:
               retouching process;
                                                                                 a.   to loss or damage caused by:


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F-             (1) any process of refinishing, renovating or
                   repairing;
                                                                                    a.   to fading, creasing, scratching, tearing, thinning,
                                                                                         transfer of colors, inherent defect, dampness,
                                                                                                                                            -   1

                                                                                          extremes of temperature gradual depreciation, or
               (2) dampness of atmosphere and/or extremes of
                                                                                         damage from handling or being worked upon;
                   temperature;
               (3) inherent defect or faulty manufacture;                           b.   to disappearance of individual stamps, coins or
                                                                                         other items unless the item is described and
               (4) rust, fouling or explosion of firearms;                               scheduled with a specific amount of insurance, or if
          b.   to breakage, marring, scratching, tearing, or                             the item is mounted in a volume and the page to
               denting unless caused by fire, thieves or accidents                       which it is attached is also lost;
               to conveyances;                                                      c.   to loss of or damage to property which is:
          c.   to infidelity of Insured's employees or persons to                        (1) in the custody of transportation companies
               whom the covered property may be entrusted or                                 unless such shipments are made by railway
               rented;                                                                       express or armored car. Shipments by mail
         d.    to loss or damage to:                                                         are covered only if made by registered mail or
                                                                                             insured parcel post; or
               (1) outboard motors,          boats    and/or       their
                   accessories;                                                          (2) not an actual part of a stamp, money or
                                                                                             numismatic collection.
               (2) bicycles, their equipment or accessories; and
               (3) equipment, clothing or accessories used in                       d.   to theft from any unattended automobile unless in
                   connection with the game of golf.                                     the custody of railway express, armored motor car
                                                                                         companies, or while being shipped by registered
    3.   if Stamp and Coin Collections are covered:                                      mail or insured parcel post.

                                                               CONDITIONS

         Conformity to State Law. When a policy provision is                        b.   the full amount of our cost to replace the item
         in conflict with the applicable law of the State in which                       with one substantially identical to the item lost
         this policy is issued, the law of the State will apply.                         or damaged;

    2.   Concealment or Fraud. This entire policy will be void                      c.   any special limit of liability described in this
         if, whether before or after a loss, you have intentionally                      policy; or
         concealed or misrepresented a material fact or
                                                                                    d.   the limit of liability applicable to the property.
         circumstance relating to this insurance.

         Loss Settlement, We have the option of repairing                      4.   Loss to a Pair or Set. In case of loss to a pair or
    3.
         or replacing the lostr damaged property. Unless                            set we may elect to:
         otherwise stated in this policy, covered property                          a.   repair or replace any part to restore the pair or
         values will be determined at the time of loss or                                set to its value before the loss; or
         damage. We will pay the cost of repair or
                                                                                    b.   pay the difference between actual cash value
         replacement, but not more than the smallest of the
                                                                                         of the property before and after the loss
         following amounts:
                                                                               5.   Loss Clause. The amount of insurance under this
         a.    the full amouri of our cost to repair the                            policy will not be reduced except for a total loss of a
               property to its condition immediately prior to                       scheduled item. We will refund the unearned premium
               the loss or damage:                                                  applicable to such item after the loss or you may apply

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F-    it   the premium due for the replacement of the
      scheduled item.
                                                                            d.   to produce such records as we may need to verify
                                                                                 the claim and its amount, and to permit copies of
                                                                                 such records to be made if needed.
 6.   Appraisal. If you and we fail to agree on the amount of
      loss, either one can demand that the amount of the loss          9.   Suit Against Us. No action will be brought unless:
      be set by appraisal. If either makes a written demand                 a.   there has been compliance with the policy
      for appraisal, each will select a competent, independent                   provisions; and
      appraiser and notify the other of the appraises identity              b.   the loss has become payable as specified in the
      within 20 days of receipt of the written demand.                           CONDITION entitled "Loss Payment".
      The two appraisers will then select a competent,                      Any action must be started within one year after the
      impartial umpire. If the two appraisers are unable to
                                                                            occurrence causing loss or damage.
      agree upon an umpire within 15 days, you or we can
      ask a judge of a court of record in the state of your            10. Loss Payment. We will adjust all losses with you. We
      residence to select an umpire. The appraisers will then              will pay you unless some other person is named in the
      set the amount of the loss. If the appraisers submit a               policy or is legally entitled to receive payment. Loss will
      written report of an agreement to us, the amount agreed              be payable 60 days after we receive your Proof of Loss
      upon will be the amount of the loss.                                 and:
      If the appraisers fail to agree within a reasonable time,             a,   we reach agreement with you;
      they will submit their differences to the umpire. Written
      agreement signed by any two of these three will set the               b.   there is an entry of a final judgment; or
      amount of the loss. Each appraiser will be paid by the                c.   there is a filing of an appraisal award with us.
      party selecting that appraiser. Other expenses of the
                                                                       11. Subrogation. In the event of loss which we believe
      appraisal and the compensation of the umpire will be
                                                                           may be collectible from others, we may pay in the form
      paid equally by you and us.
                                                                           of a loan to be repaid out of any recoveries from others.
 7.   Your Duties After Loss.        In case a covered loss                You will cooperate in every way possible to assist in
      occurs, you must:                                                    such recovery from others. We will, at our expense,
      a.   protect the property from further loss and take all             take over your rights against others to the extent of our
           steps possible to minimize the loss. Expenses                   payment.
           incurred will be borne by you and us proportionate          12, No Benefit to Bailee. No person or organization
           to our respective interests;                                    having custody of the property and to be paid for
      b.   report as soon as practicable in writing to us or our           services will benefit from this insurance.
           agent any loss or damage which may become a
           claim under this policy (In case of theft, the police       13. Other Insurance. If at the time of loss or damage there
           are also to be notified); and                                   is other insurance available which would apply to the
                                                                           property in the absence of this policy, the insurance
      c.   file with us or our agent, within 90 days after                 under this policy will apply only as excess insurance
           discovery of the loss, a signed sworn proof of loss.
                                                                           over the other insurance.
           This will state the facts and amount of the loss to
           the best of your knowledge.                                 14. Cancellation.
8.    Examination Under Oath. You agree:                                    a.   You may cancel this policy at any time by notifying
                                                                                 us in writing of the date cancellation is to take
      a.   to be examined under oath and subscribe to the
                                                                                 effect.
           same as often as we reasonably require;
                                                                            b.   We may cancel this policy only for the reasons
      b.   that employees, members of your household or                          stated in this condition, We will notify you in
           others will be produced for examination under oath                    writing of the date cancellation takes effect. This
           to the extent that it is within your power to do so;                  cancellation notice may be delivered to you, or
                                                                                 mailed to you at your mailing address shown in the
      c.   to produce, if requested, the remains of the                          Declarations. Proof of mailing will be sufficient
           covered property; and                                                 proof of notice:

                                                                   4
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              (1) When you have not paid the premium, we               15. Non-Renewal. We may elect not to renew this policy.
                  may cancel at any time by notifying you at               We may do so by delivery to you, or mailing to you at
                  least 10 days before the date cancellation               your mailing address shown in the Declarations, written
                  takes effect. This condition applies whether             notice. The notice will be mailed or delivered at least
                  the premium is payable to us or to our agent             30 days before the expiration date of this policy. Proof
                  or under any finance or credit plan                      of mailing will be sufficient proof of notice.
              (2) When this policy has been in effect for less         16. Waiver or Change of Policy Provisions. A waiver or
                  than 60 days and is not a renewal with us, we            change of any policy provision must be in writing by us
                  may cancel for any reason. We may cancel                 to be valid. Our request for an appraisal or examination
                  by notifying you at least 10 days before the             will not waive any of our rights.
                  date cancellation takes effect.
                                                                       17. Liberalization Clause. If we adopt a revision which
              (3) When this policy has been in effect for 60               would broaden coverage under this policy without
                  days or more, or at any time if it is a renewal          additional premium within 60 days prior to or during the
                  with us, we may cancel:                                  policy period, the broadened coverage will immediately
                                                                           apply to this policy.
                   (a) if there has been a material
                       misrepresentation of fact which, if known       18. Newly Acquired Property.
                       to us, would have caused us not to issue
                                                                            a.   With respect to jewelry, furs, cameras and musical
                       this policy; or
                                                                                 instruments, we cover newly acquired property of a
                   (b) if the risk has changed substantially                     class already covered. Coverage will not exceed
                       since the policy was issued.                              25% of the amount of insurance for that class of
                                                                                 property or $10,000, whichever is less. You must:
                   We may cancel this policy by notifying you at
                   least 30 days before the date cancellation                    (1) report this newly acquired property to us
                   takes effect.                                                     within 30 days of acquisition; and
              (4) When this policy is written for a period longer                (2) pay the additional premium from the date
                  than one year, we may cancel for any reason                        acquired.
                  at anniversary. We may cancel by notifying
                                                                           b.    With respect to fine arts, we cover newly acquired
                  you at least 30 days before the date
                                                                                 property of this class if already covered. Coverage
                  cancellation takes effect.
                                                                                 will not exceed 25% of the amount of insurance for
         c.   When this policy is cancelled by us, the premium                   this class. You must:
              for the period from the date of cancellation to the
                                                                                 (1) report this newly acquired property to us
              expiration date will be refunded. When you
              request cancellation, the return premium will be                       within 30 days of acquisition; and
              based on our rules for such cancellation.                          (2) pay the additional premium from the date
                                                                                     acquired.
         d.   Sometimes the return premium is not refunded
              with the notice of cancellation or when this policy is   19, Intentional Acts. If you or any person insured under
              returned to us. In such cases, we will refund it             this policy causes or procures a loss to property
              within a reasonable time after the date cancellation         covered under this policy for the purpose of obtaining
              takes effect.                                                insurance benefits then this policy is void and we will
                                                                           not pay you or any other insured for this loss.

                                                      SPECIAL CONDITIONS

   1.    Fine Arts. You agree that the covered property will be            a.    we agree to pay you the full value of the set as
         packed and unpacked by competent packers.                               shown on the schedule; and
         We agree that the amount shown for each scheduled                 b.    you agree to surrender the remaining items of the
         item is the value of the item.                                          set to us.
         In case of the total loss of any item or items which are          Golfer's Equipment. Golfer's equipment includes golf
         part of a set:                                                    clubs, golf clothing and golf equipment (not watches,



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                                                                                                                            7
               jewelry and stock for sale) which are your property.             b.    In case of loss the amount payable will be
               Your other clothing is covered while in a locker located               determined as follows:
               in a building used in connection with the game of golf.                (1) If loss is to a scheduled item we will pay no
           Golf balls are covered only if loss is caused by fire or                       more than the amount shown.
           burglary. Burglary coverage applies only if the golf balls                 (2) If loss is to scheduled property described as
           are taken from within a building, room or locker by a                           pairs, strips, blocks, series, sheets, covers,
           person making unlawful entry by force. There must be                           frames, cards or the like, we will pay in the
           visible marks of forced entry upon the premises.                               event of total loss no more than the amount
                                                                                          shown. In the event of a partial loss we will
     3.    Musical Instruments. You agree that no instrument
                                                                                          pay no more than the cash market value of
           played for pay during the policy term will be covered.
                                                                                          the whole set less the cash market value of
           This condition applies unless changed by endorsement
                                                                                          the remainder at the time of loss. It is agreed
           and additional premium is paid at our current rates.
                                                                                          that if the property is covered for less than the
     4.    Silverware. Pens, pencils, flasks, smoking implements                          cash market value payment will be limited to
           or accessories or items of personal adornment are not                          the proportion that the amount of insurance
           covered as "Silverware".                                                       bears to the cash market value.
    5.     Sports Equipment. In case of loss we will pay no                           (3) In all other cases of loss to covered property,
           greater proportion of the loss than the amount of                              we will pay no more than the actual cash
           insurance bears to the actual value of the property at                         market value of the property at the time of
           the time of loss.                                                              loss. Payment will not exceed $250 for
    6.     Stamp and Coin Collections.                                                     (a) one stamp, coin or other individual
           a.         We cover:                                                                article; or
                                                                                           (b) one pair, strip, block, series, sheet,
                     (1) postage stamps and other philatelic property
                                                                                               cover, frame, card or the like.
                         owned by or in custody or control of the
                         Insured. This includes the books, pages                    (4) We will not pay a greater proportion of a loss
                         and/or mountings used; and                                      on unscheduled property than the amount of
                                                                                         insurance on that unscheduled property bears
                     (2) rare and current coins, medals, paper money,
                                                                                         to the cash market value at the time of loss.
                         bank notes, tokens of money and other
                         numismatic property owned by or in custody       7.   Cameras. You agree that no camera used for pay
                         or control of the Insured. This includes coin         during the policy term will be covered. This condition
                         albums, containers, frames, cards and display         applies unless changed by endorsement and additional
                         cabinets in use with such collection.                 premium is paid at our current rates.

                                                      OPTIONAL POLICY PROVISIONS
    Each Optional Provision applies only as shown in the                             (1) divide the index on that date by the index as
    Declarations or Extension Certificate,                                               of the effective date of the inflation coverage
    Option I Inflation Coverage.
                 -
                                                                                         provision; then

    1.    This option will apply only to those classes of property                   (2) multiply the resulting factor by the amount of
          which indicate in the schedule that"Inflation Coverage                         insurance applicable to the property covered.
          Applies".                                                            The limits of liability will not be reduced to less than the
    2.    The amount of insurance applicable to those classes of               amounts shown in the schedule.
          property will be increased at the same rate as the                   b.    If during the term of this policy, you:
          increase in the inflation coverage index shown in the
          Declarations.                                                              (1) change the amount of insurance on any
                                                                                         property to which Inflation Coverage applies;
          a.         To find the limits on a given date:
                                                                                         or

                                                                     6

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               (2) add property to which nflation Coverage                 set, we agree to pay you the full amount of the value of such
                   applies;                                                pair or set as specified in the schedule (IN ACCORDANCE
              the effective date of this lnflati Coverage on that          WITH THE LOSS SETTLEMENT CONDITION). You agree
              property is changed to coincid with the effective            to surrender the remaining item or items of the pair or set to
              date of the change or addition.                              us.
    Option Q Broad Pair and Set Cove'l e. In the event of
               -


    the total loss of an item or items which.. e part of a pair or

             IN WITNESS WHEREOF, this ompany has executed and attested these presents; but this policy shall not be valid
    unless countersigned by the duly authori? d Agent of this Company at the agency hereinbefore mentioned.




                                                        Secretary                                                      President


    The Board of Directors, in accordance wit!, Article VI(c) of this Company's Articles of Incorporation, may from time to time distribute
    equitably to the holders of the participating plicies issued by said Company such sums out of its earnings as in its judgment is proper.




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                                                                                                                 State Court of Fulton County
                                                                                                                                  **EFILED**
                                                                                                            20EV007743
                              General Civil and Domestic Relations Case Filing Information Form      12/23/2020 1:14 PM
                                                                                              Christopher G. Scott, Clerk
                                                                                                           Civil Division
                                Li Superior or l State Court of F                     County

             For Clerk Use Only

             Date Filed                                            Case Number
                               MM-DD-YYYV

    Plaintiff (s)                                                   Defendant(s)
    Love             Lonnie                                         State Farm Florida Insurance Company
    Last             First          Middle T.   Suffix    Prefix     Last                First          Middle I.    Suffix   Prefix

    Last             First          Middle I.   Suffix    Prefix     Last                First          Middle       Suffix   Prefix

    Last             First          Middle I.   Suffix    Prefix     Last                First          Middle I,    Suffix   Prefix


    Last             First          Middle L    Suffix    Prefix     Last               First           Middle I,    Suffix   Prefix

    Plaintiff's Attorney Jamie B. Hernan                              Bar Number 348555                      Self-Represented El

                                                  Check One Case Type in One Box


            General Civil Cases                                             Domestic Relations Cases
            O         Automobile Tort                                       El         Adoption
            O         Civil Appeal                                          O          Dissolution/Divorce/Separate
            t3        Contract                                                         Maintenance
            El        Garnishment                                           El         Family Violence Petition
            O         General Tort                                          O          Paternity/Legitimation
            El        Habeas Corpus                                         El         Support — IV-D
            El        Injunction/Mandamus/Other Writ                        El         Support Private (non-IV-D)
                                                                                                 -


            El        Landlord/Tenant                                       El         Other Domestic Relations
            El        Medical Malpractice Tort
            o         Product Liability Tort                                Post-Judgment - Check One Case TVDe
            El        Real Property
                                                                            LI        Contempt
            El        Restraining Petition
                                                                                 0    Non-payment of child support,
            Li        Other General Civil
                                                                                      medical support, or alimony
                                                                            0         Modification
                                                                            El        Other/Administrative

El         Check if the action is related to another action(s) pending or previously pending in this court involving some or
                                                                                                                                       all
           of the same parties, subject matter, or factual issues. If so, provide a case number for each.


                      Case Number                                  Case Number

           I hereby certify that the documents in this filing, including attachments and exhibits, satisfy the requirements for
           redaction of personal or confidential information in O.C.G.A. § 9-11-7.1.

El         Is an interpreter needed in this case? If so, provide the language(s) required.
                                                                                                     Language(s) Required

0          Do you or your client need any disability accommodations? If so, please describe the accommodation request.




                                                                                                                              Version 1 118
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                                                                      State Court of Fulton County
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                                                                                       20EV007743
                                                                                2/24/2021 8:19 AM
                                                                       Christopher G. Scott, Clerk
                                                                                      Civil Division




                IN THE STATE COURT OF FULTON COUNTY
                          STATE OF GEORGIA

LONNIE LOVE,                                 )
                                             )
                    Plaintiff,               )     CIVIL ACTION
      v.                                     )     FILE NO. 20EV007743
                                             )
STATE FARM FLORIDA                           )
INSURANCE COMPANY,                           )
                                             )
                    Defendant.               )
                                             )

   DEFENDANT STATE FARM FLORIDA INSURANCE COMPANY’S
           AFFIRMATIVE DEFENSES AND ANSWER

      State Farm Florida Insurance Company (“State Farm”), Defendant in the

above-styled civil action, files its Affirmative Defenses and Answer to Plaintiff

Lonnie Love’s Complaint (hereinafter the “Plaintiff’s Complaint” or “Complaint”)

as follows:

                         FIRST AFFIRMATIVE DEFENSE

      Plaintiff’s Complaint fails to state a claim against State Farm upon which

relief can be granted.

                         SECOND AFFIRMATIVE DEFENSE

      Plaintiff may not recover from State Farm under the policy issued to Plaintiff

having policy number 59-CK-S034-0 (“Policy”) because Plaintiff failed to satisfy
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the conditions precedent to recovery.          Specifically, the Policy provides in

CONDITIONS:

           9.    Suit Against Us. No action will be brought unless:

                 a.      there has been compliance with the policy
                         provisions; and

                 b.      the loss has become payable as specified in
                         the     CONDITION        entitled    “Loss
                         Payment”…

     The   Policy     also     provides   in   CONDITIONS,           as   amended    by

AMENDATORY ENDORSEMENT (Florida):

           10.   Loss Payment. We will adjust all losses with you.
                 We will pay you unless some other person is named
                 in the policy or is legally entitled to receive
                 payment. Loss will be payable:

                 a.      20 days after we receive your proof of loss
                         and reach agreement with you; or

                 b.      60 days after we receive your proof of loss
                         and:

                         (1)     there is an entry of a final judgment; or

                         (2)     there is a filing of an appraisal award
                                 with us.




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                       THIRD AFFIRMATIVE DEFENSE

      Plaintiff may not recover from State Farm under the Policy because Plaintiff

failed to comply with all applicable Policy provisions before filing suit against

State Farm. Specifically, the Policy provides in CONDITIONS:

            9.    Suit Against Us. No action will be brought unless:

                  a.      there has been compliance with the policy
                          provisions; and

                  b.      the loss has become payable as specified in
                          the CONDITION entitled “Loss Payment”.

      The   Policy     also     provides   in   CONDITIONS,           as   amended    by

AMENDATORY ENDORSEMENT (Florida):

            10.   Loss Payment. We will adjust all losses with you.
                  We will pay you unless some other person is named
                  in the policy or is legally entitled to receive
                  payment. Loss will be payable:

                  a.      20 days after we receive your proof of loss
                          and reach agreement with you; or

                  b.      60 days after we receive your proof of loss
                          and:

                          (1)     there is an entry of a final judgment; or

                          (2)     there is a filing of an appraisal award
                                  with us.




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                         FOURTH AFFIRMATIVE DEFENSE

      State Farm contends that Plaintiff may not recover any benefits under the

Policy because Plaintiff failed to satisfy his duties as required under the Policy. The

Policy states in CONDITIONS:

             ...

             7.     Your Duties After Loss. In case a covered loss
                    occurs, you must:

                    a.     protect the property from further loss and
                           take all steps possible to minimize the loss.
                           Expenses incurred will be borne by you and
                           us proportionate to our respective interests;

                    b.     report as soon as practicable in writing to us
                           or our agent any loss or damage which may
                           become a claim under this policy (In case of
                           theft, the police are also to be notified); and

                    c.     file with us or our agent, within 90 days after
                           discovery of the loss, a signed sworn proof of
                           loss. This will state the facts and amount of
                           the loss to the best of your knowledge.

             8.     Examination Under Oath. You agree:

                    a.     to be examined under oath and subscribe to
                           the same as often as we reasonably require;

                    b.     that employees, members of your household
                           or others will be produced for examination
                           under oath to the extent that it is within your
                           power to do so;


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                  c.     to produce, if requested, the remains of the
                         covered property; and

                  d.     to produce such records as we may need to
                         verify the claim and its amount, and to permit
                         copies of such records to be made if needed.

            ...

                       FIFTH AFFIRMATIVE DEFENSE

      State Farm contends that Plaintiff may not recover any benefits under the

Policy because Plaintiff violated the Policy’s Concealment Or Fraud provision. The

Policy provides in CONDITIONS:

            2.    Concealment or Fraud. This entire policy will be
                  void if, whether before or after a loss, you have
                  intentionally concealed or misrepresented a
                  material fact or circumstance relating to this
                  insurance.

                       SIXTH AFFIRMATIVE DEFENSE

      Plaintiff’s alleged damages, if any, are limited by the Loss Settlement

provision of the Policy. The Policy provides in CONDITIONS, as amended by FE-

3357 LOSS SETTLEMENT ENDORSEMENT:

            3.    Loss Settlement. We have the option of repairing
                  or replacing the lost or damaged property. Unless
                  otherwise stated in this policy, covered property
                  values will be determined at the time of loss or
                  damage. We will pay the cost of repair or
                  replacement, but not more than the smallest of the
                  following amounts:

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                   a.    the full amount of our cost to repair the
                         property to its condition immediately prior to
                         the loss or damage.

                   b.    the full amount of our cost to replace the item
                         with one substantially identical to the item
                         lost or damaged;

                   c.    any special limit of liability described in this
                         policy; or

                   d.    the limit of liability applicable to the
                         property.

                   Any property we pay for or replace becomes our
                   property.

                    SEVENTH AFFIRMATIVE DEFENSE

      Plaintiff is unable to recover any alleged damages under LOSSES INSURED

AND LOSSES NOT INSURED to the extent that the Loss did not result from a

fortuitous loss and/or “accidental direct physical loss or damage to the property

covered” as required by the Policy. The Policy provides in pertinent part:

            We insure for accidental direct physical loss or damage to
            the property covered except loss or damage caused
            directly or indirectly by any of the following. Such loss or
            damage is excluded regardless of any other cause or event
            which contributes concurrently or in any sequence to the
            loss or damage.




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                      EIGHTH AFFIRMATIVE DEFENSE

      State Farm has not breached any duty owed under the Policy with Plaintiff,

and therefore Plaintiff may not recover from State Farm in any sum or manner

whatsoever.

                       NINTH AFFIRMATIVE DEFENSE

      Plaintiff may not recover from State Farm under a theory of breach of contract

because State Farm has at all times hereto complied with its contractual duties.

                       TENTH AFFIRMATIVE DEFENSE

      State Farm is not indebted to Plaintiff for the sum sought or in any amount

whatsoever.

                    ELEVENTH AFFIRMATIVE DEFENSE

      To the extent that Plaintiff attempt to impose duties upon State Farm aside

from those set forth in the Policy, Plaintiff’s claims fail in both fact and law. Georgia

law does not impose extra-contractual duties on insurers when adjusting claims

asserted by insureds. Moreover, at all times relevant hereto, State Farm acted in

good faith and in accordance with the terms and conditions of the Policy.




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                     TWELFTH AFFIRMATIVE DEFENSE

      State Farm has at all times acted in good faith and with reasonable and

probable cause with respect to the actions it has taken, and, therefore, Plaintiff fail

to state a claim for bad faith penalties and attorneys’ fees.

                   THIRTEENTH AFFIRMATIVE DEFENSE

      To the extent that Plaintiff’s Complaint seeks to recover bad faith penalties

and attorneys’ fees under O.C.G.A. § 33-4-6 against State Farm, such remedies are

not available to Plaintiff inasmuch as State Farm has at all times acted reasonably,

in good faith and with probable cause with respect to the actions it has taken and

because Plaintiff failed to follow the procedural requirements mandated by the

insurance contract and O.C.G.A. § 33-4-6 to perfect a claim for bad faith penalties

and attorneys’ fees; therefore Plaintiff’s Complaint fails to state a claim under

O.C.G.A. § 33-4-6.

                  FOURTEENTH AFFIRMATIVE DEFENSE

      Although State Farm denies that it breached the Policy or acted in bad faith

with regard to the fact situation as set forth in Plaintiff’s Complaint, to the extent

that Plaintiff’s Complaint or prayer for relief seeks, or is construed as seeking

damages other than the contractual damages or penalty under O.C.G.A. § 33-4-6,

such remedies are not available to the Plaintiff inasmuch as O.C.G.A. § 33-4-6 is the

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sole manner by which to recover extra-contractual damages in a first-party dispute

over payment of insurance benefits.

                    FIFTEENTH AFFIRMATIVE DEFENSE

       To the extent that Plaintiff’s Complaint seeks damages against State Farm

other than contractual damages, Plaintiff has failed to state a claim for bad faith

penalties, attorneys’ fees, or extra-contractual damages. State Farm has at all times

acted in good faith with respect to the actions it has taken, and the Plaintiff, therefore,

fails to state a claim pursuant to O.C.G.A. § 33-4-6 for any bad faith penalty and

attorneys’ fees. Furthermore, Plaintiff did not submit a timely demand prior to filing

its action, as required by O.C.G.A. § 33-4-6.

                    SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiff may not recover from State Farm under the Policy because Plaintiff

breached the terms and conditions of the Policy.

                  SEVENTEENTH AFFIRMATIVE DEFENSE

       The facts and circumstances forming the basis of Plaintiff’s Complaint were

brought about by and as a result of Plaintiff’s or his representative’s conduct, and

Plaintiff is therefore estopped or precluded from recovery herein.




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                  EIGHTEENTH AFFIRMATIVE DEFENSE

      State Farm is not liable to Plaintiff because it did not act tortiously or

negligently in any manner whatsoever in regard to the fact situation set forth in the

Plaintiff’s Complaint.

                  NINETEENTH AFFIRMATIVE DEFENSE

      To the extent that Plaintiff seeks to recover from State Farm in tort, Plaintiff

is barred from recovery. The relationship between Plaintiff and State Farm is solely

based upon the Policy and does not support an action in tort.

                  TWENTIETH AFFIRMATIVE DEFENSE

      No act or omission on the part of State Farm caused or contributed to any of

the alleged injuries or damages claimed by Plaintiff, and therefore Plaintiff is not

entitled to recover anything from State Farm.

                 TWENTY-FIRST AFFIRMATIVE DEFENSE

      Plaintiff’s claim for punitive damages is barred because any award of such

damages would violate the due process clause of the Fifth and Fourteenth

Amendments to the United States Constitution by allowing the jury broad discretion




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to determine punishment and by depriving State Farm of prior notice of the

consequences of its alleged actions.

                   TWENTY-SECOND AFFIRMATIVE DEFENSE

      To the extent that Plaintiff seeks to establish a cause of action against

State Farm for violation of the Unfair Settlement Practices (O.C.G.A. § 33-6-30),

Plaintiff fails to state a claim upon which relief can be granted.

                   TWENTY-THIRD AFFIRMATIVE DEFENSE

      To the extent that Plaintiff seeks to establish a cause of action against

State Farm based on the provisions of Georgia’s Unfair Claims Settlement Practices

Act contained in O.C.G.A. § 33-6-34, Plaintiffs fail to state a claim upon which relief

could be granted. By its express terms, the Unfair Claims Settlement Practices Act

does not create a private cause of action. O.C.G.A. § 33-6-37.

                   TWENTY-FOURTH AFFIRMATIVE DEFENSE

      Plaintiffs’ Complaint fails to state a claim against State Farm upon which

relief can be granted for violation of the Unfair Business Practices (O.C.G.A. § 10-

1-391, et seq.).




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                  TWENTY-FIFTH AFFIRMATIVE DEFENSE

      Plaintiff’s Complaint fails to state a claim upon which relief can be granted

against State Farm for attorneys’ fees pursuant to O.C.G.A. § 13-6-11.

                  TWENTY-SIXTH AFFIRMATIVE DEFENSE

      Plaintiff’s Complaint fails to state a claim against State Farm for punitive

damages upon which relief can be granted.

                 TWENTY-SEVENTH AFFIRMATIVE DEFENSE

      Plaintiff’s Complaint fails to state a claim for discrimination against State

Farm upon which relief can be granted.

                 TWENTY-EIGHTH AFFIRMATIVE DEFENSE

      Plaintiff’s alleged damages, if any, are limited by the coverage limits set forth

in the Policy.

                  TWENTY-NINTH AFFIRMATIVE DEFENSE

      Plaintiff waived his right to insist upon State Farm’s compliance with the

Policy due to his own failure to comply with the Policy’s conditions.

                   THIRTIETH AFFIRMATIVE DEFENSE

      State Farm expressly reserves the right to assert any and all affirmative

defense(s) and matter(s) in avoidance as may be disclosed during the course of

additional investigation and discovery. Subject to and without waiving any of their

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other respective rights, jurisdictional or legal defenses, or objections, State Farm

responds to the specific allegations contained in the individual and enumerated

paragraphs of the Complaint as follows:

                          PARTIES AND JURISDICTION

                              NATURE OF THE CASE

                                         1.

         State Farm admits only that it issued a personal articles policy to Plaintiff

bearing policy number 59-CK-S034-0, which provided coverage for specific,

scheduled items subject to the Policy’s terms and conditions and applicable law.

State Farm denies that Exhibit A is a true and accurate copy of the Policy in effect

on the date of the loss. State Farm denies all remaining allegations contained in

Paragraph 1 of Plaintiff’s Complaint.

                                      PARTIES

                                         2.

         State Farm denies the allegations of Paragraph 2 of Plaintiff’s Complaint, as

pled.

                                         3.

         In response to the allegations contained in Paragraph 3 of Plaintiff’s

Complaint, State Farm admits that it is a foreign insurance company with its

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principal place of business located in Winter Haven, Florida and is authorized to

conduct business in the State of Georgia.

                                        4.

      State Farm admits that pursuant to section 48.151(1), Florida Statutes, it has

designated the Chief Financial Officer of Florida as its Statutory Registered Agent

for Service of Process. State Farm denies any remaining allegations of Paragraph 4

of Plaintiff’s Complaint.

                                        5.

      State Farm admits that it may be served with summons and process through

its registered agent. State Farm denies any remaining allegations of Paragraph 5 of

Plaintiff’s Complaint.

                            JURISDICTION AND VENUE

                                        6.

      State Farm admits that Plaintiff initiated a claim with State Farm related to a

theft that allegedly occurred on September 6, 2020, at 887 Spring St NW, Atlanta,

Fulton County, Georgia 30308. State Farm denies the remaining allegations of

Paragraph 6 of Plaintiff’s Complaint.




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                                         7.

      State Farm admits that Plaintiff initiated a claim with State Farm related to a

theft that allegedly occurred on September 6, 2020, at 887 Spring St NW, Atlanta,

Fulton County, Georgia 30308. State Farm denies the remaining allegations of

Paragraph 7 of Plaintiff’s Complaint.

                                         8.

      State Farm admits the allegations of Paragraph 8 of Plaintiff’s Complaint.

                                         9.

      State Farm admits that it is a foreign insurance company with its principal

place of business located in Winter Haven, Florida and is authorized to conduct

business in the State of Georgia. State Farm denies any remaining allegations of

Paragraph 9 of Plaintiff’s Complaint.

                                         10.

      State Farm admits that it is a foreign insurance company with its principal

place of business located in Winter Haven, Florida and is authorized to conduct

business in the State of Georgia. State Farm denies any remaining allegations of

Paragraph 10 of Plaintiff’s Complaint.




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                                       11.

      State Farm admits that the address listed on the Declarations page of policy

number 59-CK-S034-0 is P.O. Box 19897, Atlanta, Georgia 30325-0897. State

Farm denies any remaining allegations of Paragraph 11 of Plaintiff’s Complaint.

                                       12.

      State Farm admits that the offices of its coverage counsel in this matter and

the undersigned attorneys is in Atlanta, Georgia. State Farm denies any remaining

allegations of Paragraph 12 of Plaintiff’s Complaint.

                                       13.

      State Farm admits that Plaintiff initiated a claim with State Farm related to a

theft that allegedly occurred on September 6, 2020, at 887 Spring St NW, Atlanta,

Georgia 30308. State Farm further admits that its counsel conducted an examination

under oath of Plaintiff in Fulton County, Georgia. State Farm denies any remaining

allegations of Paragraph 13 of Plaintiff’s Complaint.

                                       14.

      State Farm admits the allegations of Paragraph 14 of Plaintiff’s Complaint

insofar as State Farm does not dispute jurisdiction in this Court. However, State

Farm denies that Fulton County is the only proper jurisdiction for this dispute. State

Farm denies any remaining allegations of Paragraph 14 of Plaintiff’s Complaint.

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                                     15.

      State Farm admits that venue is proper in Fulton County. However, by way

of further response, State Farm denies that Fulton County is the only proper venue

for this dispute. State Farm denies any remaining allegations of Paragraph 15 of

Plaintiff’s Complaint.

                                     16.

      State Farm admits that venue is proper in Fulton County. However, by way

of further response, State Farm denies that Fulton County is the only proper venue

for this dispute. State Farm denies any remaining allegations of Paragraph 16 of

Plaintiff’s Complaint.

                                     17.

      State Farm admits that venue is proper in Fulton County. However, by way

of further response, State Farm denies that Fulton County is the only proper venue

for this dispute. State Farm denies any remaining allegations of Paragraph 17 of

Plaintiff’s Complaint.

                         FACTS AND CAUSES OF ACTION

                                     18.

      State Farm admits that on September 18, 2020, Plaintiff reported that his

vehicle was stolen on September 6, 2020, from a parking lot located at 887 Spring

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St NW, Atlanta, Georgia 30308 and that personal property within the vehicle was

stolen. State Farm denies any remaining allegations of Paragraph 18 of Plaintiff’s

Complaint.

                                      19.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 19 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 19 of Plaintiff’s Complaint.

                                      20.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 20 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 20 of Plaintiff’s Complaint.

                                      21.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 21 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 21 of Plaintiff’s Complaint.

                                      22.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 22 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 22 of Plaintiff’s Complaint.

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                                      23.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 23 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 22 of Plaintiff’s Complaint.

                                      24.

      State Farm admits only that it issued a personal articles policy to Plaintiff

bearing policy number 59-CK-S034-0, which provided coverage to scheduled items

subject to the Policy’s terms and conditions and applicable law. State Farm denies

all remaining allegations of Paragraph 24 of Plaintiff’s Complaint.

                                      25.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 25 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 25 of Plaintiff’s Complaint.

                                      26.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 26 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 26 of Plaintiff’s Complaint.




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                                      27.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 27 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 27 of Plaintiff’s Complaint.

                                      28.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 28 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 28 of Plaintiff’s Complaint.

                                      29.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 29 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 29 of Plaintiff’s Complaint.

                                      30.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 30 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 30 of Plaintiff’s Complaint.

                                      31.

      State Farm admits that Plaintiff initiated a claim with State Farm related to a

theft that allegedly occurred on September 6, 2020, at 887 Spring St NW, Atlanta,

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Fulton County, Georgia 30308, which was assigned claim number 59-11P3-20M

(“Claim”). State Farm denies all remaining allegations of Paragraph 31 of Plaintiff’s

Complaint.

                                       32.

      State Farm admits that it assigned the investigation of claim number 59-11P3-

20M to its special investigative unit on September 23, 2020. State Farm denies all

remaining allegations in Paragraph 32 of Plaintiff’s Complaint and specifically

denies any allegations of discrimination.

                                       33.

      State Farm denies the allegations of Paragraph 33 of Plaintiff’s Complaint.

                                       34.

      State Farm admits that it investigated claim number 59-11P3-20M subjected

to its reservation of rights letter dated October 9, 2020. State Farm admits that its

counsel questioned Plaintiff during an examination under oath. State Farm denies

all remaining allegations of Paragraph 34 of Plaintiff’s Complaint.

                                       35.

      State Farm lacks knowledge or information sufficient to form a belief as to

the truth of the allegations of Paragraph 35 of Plaintiff’s Complaint. Accordingly,

State Farm denies all allegations of Paragraph 35 of Plaintiff’s Complaint.

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                                          36.

      State Farm denies the allegations of Paragraph 36 of Plaintiff’s Complaint.

By way of further explanation, State Farm shows that Plaintiff was required to

comply with the Suit Against Us provisions of the Policy prior to filing suit.

                                          37.

      State Farm denies the allegations of Paragraph 37 of Plaintiff’s Complaint.

                                          38.

      State Farm denies the allegations of Paragraph 38 of Plaintiff’s Complaint.

                                          39.

      State Farm admits that its claims specialist requested that Plaintiff submit a

supplemental police report.      State Farm denies the remaining allegations of

Paragraph 39 of Plaintiff’s Complaint.

                                          40.

      State Farm admits that it requested that Plaintiff submit a Sworn Statement in

Proof of Loss and that Plaintiff submitted a Sworn Statement in Proof of Loss on

September 24, 2020. State Farm denies any remaining allegations of Paragraph 40

of Plaintiff’s Complaint, as stated.




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                                       41.

      State Farm admits that it retained counsel as part of its investigation of claim

number 59-11P3-20M. State Farm denies all remaining allegations of Paragraph 41

of Plaintiff’s Complaint.

                                       42.

      State Farm admits that, pursuant to the terms and conditions of the Policy, it

required Plaintiff to submit to an examination under oath. State Farm denies all

remaining allegations of Paragraph 42 Plaintiff’s Complaint.

                                       43.

      State Farm admits that Plaintiff appeared for an examination under oath on

November 5, 2020. State Farm denies the remaining allegations of Paragraph 43 of

Plaintiff’s Complaint and denies that Plaintiff completed his examination under oath.

                                       44.

      State Farm denies the allegations of Paragraph 44 of Plaintiff’s Complaint.

                                       45.

      State Farm denies the allegations of Paragraph 45 of Plaintiff’s Complaint.

                                       46.

      State Farm admits only that its letter dated November 2, 2020, requested

specific documents and information necessary to State Farm’s investigation of claim

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number 59-11P3-20M. State Farm denies all remaining allegations of Paragraph 46

of Plaintiff’s Complaint.

                                       47.

      State Farm admits that among the documents requested in the November 2,

2020 letter were Plaintiff’s personal tax returns for the years 2018 and 2019; bank

statements held individually or jointly by Plaintiff and which reflect transaction

detail for the period of March 6, 2020 to September, 6, 2020; credit card statements

for each credit card held by Plaintiff individually or jointly and which reflect

transaction detail for the period of March 6, 2020 to September 6, 2020; personal

cell phone service statements which reflect call details for the period of September

6 and 7, 2020; and documents which support Plaintiff’s residence, including his

utility bills, mortgage statements, and lease agreements. State Farm denies that this

was a complete list of the documents requests and further denies the remaining

allegations of Paragraph 47 of Plaintiff’s Complaint, as stated.

                                       48.

      State Farm denies the allegations of Paragraph 48 of Plaintiff’s Complaint.

                                       49.

      State Farm admits that the Policy provides in CONDITIONS, 8. Examination

Under Oath, as follows: “You agree… d. to produce such records as we may need

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to verify the claim and its amount, and to permit copies of such records to be made

if needed.” State Farm denies all remaining allegations of Paragraph 49 of Plaintiff’s

Complaint or any inferences or characterizations of the Policy language which are

inconsistent with the Policy.

                                       50.

      State Farm denies the allegations of Paragraph 50 of Plaintiff’s Complaint, as

stated.

                                       51.

      State Farm admits that Plaintiff’s counsel wrote to State Farm on

November 10, 2020 and that the substance of such letter speaks for itself. State Farm

denies all remaining allegations of Paragraph 51 of Plaintiff’s Complaint.

                                       52.

      State Farm admits that in its letter dated December 1, 2020, State Farm

reiterated its request for documents and information necessary to its investigation of

claim number 59-11P3-20M that it initially requested in its letter dated November

2, 2020, and specific documents and information related to information State Farm

learned during Plaintiff’s examination under oath. State Farm denies all remaining

allegations of Paragraph 52 of Plaintiff’s Complaint.




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                                      53.

      State Farm denies the allegations of Paragraph 53 of Plaintiff’s Complaint.

                                      54.

      State Farm denies the allegations of Paragraph 54 of Plaintiff’s Complaint.

                                      55.

      State Farm denies the allegations of Paragraph 55 of Plaintiff’s Complaint.

                                      56.

      State Farm admits that it has not issued payment on Plaintiff’s claim because

the loss was payable at the time the lawsuit was filed and because it had not

completed its investigation of claim number 59-11P3-20M before this lawsuit was

filed. State Farm denies the remaining allegations of Paragraph 56 of Plaintiff’s

Complaint.

                                      57.

      State Farm denies the allegations of Paragraph 57 of Plaintiff’s Complaint.

                                      58.

      State Farm denies the allegations of Paragraph 58 of Plaintiff’s Complaint.

                                      59.

      State Farm denies the allegations of Paragraph 59 of Plaintiff’s Complaint.




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                                 60.

 State Farm denies the allegations of Paragraph 60 of Plaintiff’s Complaint.

                                 61.

 State Farm denies the allegations of Paragraph 61 of Plaintiff’s Complaint.

                                 62.

 State Farm denies the allegations of Paragraph 62 of Plaintiff’s Complaint.

                                 63.

 State Farm denies the allegations of Paragraph 63 of Plaintiff’s Complaint.

                                 64.

 State Farm denies the allegations of Paragraph 64 of Plaintiff’s Complaint.

                                 65.

 State Farm denies the allegations of Paragraph 65 of Plaintiff’s Complaint.

                                 66.

 State Farm denies the allegations of Paragraph 66 of Plaintiff’s Complaint.

                                 67.

 State Farm denies the allegations of Paragraph 67 of Plaintiff’s Complaint.

                                 68.

 State Farm denies the allegations of Paragraph 68 of Plaintiff’s Complaint.




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                                       69.

      State Farm denies the allegations of Paragraph 69 of Plaintiff’s Complaint.

                                       70.

      State Farm denies the allegations of Paragraph 70 of Plaintiff’s Complaint, as

stated. State Farm expressly denies Plaintiff’s characterization of State Farm’s

investigation of claim number 59-11P3-20M.

                                       71.

      State Farm denies the allegations of Paragraph 71 of Plaintiff’s Complaint.

                                       72.

      State Farm denies the allegations of Paragraph 72 of Plaintiff’s Complaint.

                                       73.

      WHEREFORE, State Farm requests that the following relief be granted:

      a)    That Plaintiff’s Complaint is dismissed with prejudice;

      b)    That State Farm be awarded assessments, interest, and late charges, in

            amounts to be proven at trial;

      c)    That State Farm be awarded its reasonable attorneys’ fees and costs

            incurred in asserting its rights through this action;

      d)    That State Farm be awarded such other and further relief as this Court

            deems just and proper.

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      This 24th day of February, 2021.

                                         Respectfully submitted,

                                         SWIFT, CURRIE, McGHEE & HIERS

                                         /s/ Kristen M. Vigilant
                                         Rebecca E. Strickland
                                         Georgia Bar No. 358183
                                         Kristen M. Vigilant
                                         Georgia Bar No. 191460
                                         Attorneys for State Farm Florida
                                         Insurance Company

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                            CERTIFICATE OF SERVICE

          I hereby certify I have this day electronically filed Defendant State Farm

Florida Insurance Company’s Affirmative Defenses and Answer with the Clerk of

Court via the Odyssey eFile GA e-filing system, which will send automatic

notification to the following:

                                  Jamie B. Hernan, Esq.
                               The Hernan Law Firm, P.C.
                                  10896 Crabapple Road
                                 Roswell, Georgia 30075
                                 jamie@hernanfirm.com
                            Attorney for Plaintiff Lonnie Love

          This 24th day of February, 2021.

                                         SWIFT, CURRIE, McGHEE & HIERS

                                         /s/ Kristen M. Vigilant
                                         Rebecca E. Strickland
                                         Georgia Bar No. 358183
                                         Kristen M. Vigilant
                                         Georgia Bar No. 191460
                                         Attorneys for State Farm Florida
                                         Insurance Company

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4817-7885-5130, v. 2




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This page inserted to separate pleadings
                                                                       State Court of Fulton County
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                                                                                        20EV007743
                                                                                 2/24/2021 9:36 AM
                                                                        Christopher G. Scott, Clerk
                                                                                       Civil Division




                IN THE STATE COURT OF FULTON COUNTY
                          STATE OF GEORGIA

LONNIE LOVE,                                  )
                                              )
                   Plaintiff,                 )     CIVIL ACTION
       v.                                     )     FILE NO. 20EV007743
                                              )
STATE FARM FLORIDA                            )
INSURANCE COMPANY,                            )
                                              )
                   Defendant.                 )
                                              )

                       NOTICE OF FILING REMOVAL

To:    Jamie B. Hernan, Esq.
       The Hernan Law Firm, P.C.
       10896 Crabapple Road
       Roswell, Georgia 30075
       jamie@hernanfirm.com

       Please take notice that State Farm Florida Insurance Company, Defendant in

the above-styled action, has on this date filed its Notice of Removal, a copy of

which is attached hereto as Exhibit A, in the Office of the Clerk of the United

States District Court for the Northern District of Georgia, Atlanta Division.

       This 24th day of February, 2021.



                          [Signature on Following Page]
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                                         Respectfully submitted,

                                         SWIFT, CURRIE, McGHEE & HIERS

                                         /s/ Kristen M. Vigilant
                                         Rebecca E. Strickland
                                         Georgia Bar No. 358183
                                         Kristen M. Vigilant
                                         Georgia Bar No. 191460
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                           CERTIFICATE OF SERVICE

         I hereby certify I have this day electronically filed the foregoing Notice of

Filing Removal with the Clerk of Court via the Odyssey eFile GA e-filing system,

which will send automatic notification to the following:

                                 Jamie B. Hernan, Esq.
                              The Hernan Law Firm, P.C.
                                 10896 Crabapple Road
                                Roswell, Georgia 30075
                                jamie@hernanfirm.com
                           Attorney for Plaintiff Lonnie Love

         This 24th day of February, 2021.

                                         SWIFT, CURRIE, McGHEE & HIERS

                                         /s/ Kristen M. Vigilant
                                         Rebecca E. Strickland
                                         Georgia Bar No. 358183
                                         Kristen M. Vigilant
                                         Georgia Bar No. 191460
                                         Attorneys for State Farm Florida
                                         Insurance Company

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4847-3294-9469, v. 1




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         EXHIBIT A
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

LONNIE LOVE,                                   )
                                               )
                   Plaintiff,                  )     CIVIL ACTION
      v.                                       )     FILE NO.
                                               )     [On removal from State
STATE FARM FLORIDA                             )     Court of Fulton County,
INSURANCE COMPANY,                             )     Georgia, Civil Action
                                               )     File No. 20EV007743]
                   Defendant.                  )
                                               )

                            NOTICE OF REMOVAL

      State Farm Florida Insurance Company (“State Farm”), Defendant in the

above-styled civil action, hereby files this Notice of Removal pursuant to

28 U.S.C. §§ 1441 and 1446 within the time prescribed by law, respectfully

showing this Court as follows:

                                          1.

      On December 23, 2020, Plaintiff Lonnie Love (“Plaintiff”), by and through

counsel, filed a Complaint against State Farm in the State Court of Fulton County,

Georgia, styled as Lonnie Love v. State Farm Florida Insurance Company, and

assigned Civil Action File No. 20EV007743 (the “State Court Action”). True and

correct copies of all filings to date in the Superior Court Action are collectively

attached hereto as Exhibit “1”.
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                                           2.

      Pursuant to Fla. Stat. § 48.151, State Farm has designated the Chief

Financial Officer of Florida as its Statutory Registered Agent for Service of

Process. On January 13, 2021, Plaintiff delivered the Complaint and Summons to

the Chief Financial Officer of Florida. The Chief Financial Officer of Florida then

forwarded the Summons and Complaint to State Farm’s registered agent on

January 25, 2021. Thus, State Farm was serve on January 25, 2021. This Notice

of Removal is filed within 30 days of January 25, 2021, the date on which State

Farm was served with the Complaint and notice of the subject lawsuit. This Notice

of Removal is also filed within one year of the commencement of the action. Thus,

removal is timely under 28 U.S.C. § 1446(b).

                                           3.

      The United States District Court for the Northern District of Georgia,

Atlanta Division, embraces Fulton County, Georgia. Thus, removal to this Court is

proper under 28 U.S.C. § 1441(a).

                                           4.

      Pursuant to 28 U.S.C. § 1446(d), promptly after the filing of this Notice of

Removal, State Farm will give written notice to Plaintiff and will file a copy of this




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Notice of Removal with the Clerk of Superior Court of Fulton County, which shall

effect the removal.

                         DIVERSITY JURISDICTION

                                          5.

      The United States District Court for the Northern District of Georgia,

Atlanta Division, possesses diversity jurisdiction over this matter pursuant to

28 U.S.C. § 1332.

                                          6.

      For the purpose of determining diversity, an individual’s citizenship is based

upon his domicile, not every place he has a residence. McCormick v. Aderholt,

293 F.3d 1254, 1257 (11th Cir. 2002). “A person’s domicile is the place of ‘his

true, fixed, and permanent home and principal establishment, and to which he has

the intention of returning whenever he is absent therefrom.’” Id. at 1257-58.

                                          7.

      Plaintiff was a resident of Georgia on the date that the Complaint was filed.

The address on the Declarations Page of Plaintiffs’ insurance policy with State

Farm is an Atlanta, Georgia address. (Dkt. 1-1, Compl. ¶ 11; Hogge Decl. ¶ 4,

attached hereto as Exhibit “2,” at Ex. 1 thereto.) Plaintiff maintains a residence in

Alpharetta, Georgia, where he has lived with his children for about four years.

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(Hogge Decl. ¶ 5, Ex. 2 at 7; Hogge Decl. ¶ 6, Ex. 2 at 8.) Plaintiff has a Georgia

driver’s license. (Hogge Decl. ¶ 8, Ex. 2 at 7.) During his examination under oath,

Plaintiff testified that owns U Digg Music Group; Love Holdings, LLC; Love

Parking; and Money M.O.B. ENT. (Hogge Decl. ¶ 9, Ex. 2 at 12.) Plaintiff

testified that all of the entities are Georgia entities, except U Digg Music Group.

(Hogge Decl. ¶ 9, Ex. 2 at 12-13.) Although Plaintiff allegedly has a residence in

Florida, during his examination under oath, he declined to identify anyone with

whom he lives in Florida. (Hogge Decl. ¶ 7, Ext. 2 at 9.) Thus, Plaintiff is a

citizen of the State of Georgia.

                                           8.

      At all times relevant to this action, State Farm was a corporation organized

under the laws of the State of Florida, with its principal place of business in the

State of Florida. Thus, State Farm is a citizen of the State of Florida.

                                           9.

      Because Plaintiff and State Farm are citizens of different States, complete

diversity exists between Plaintiff and State Farm in accordance with

28 U.S.C. § 1332(a)(1).




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                                          10.

      Plaintiff alleges in the Complaint that the value of his claim is at least

$137,200. In addition, before suit was filed, Plaintiff submitted a sworn statement

in proof of loss, in which he claimed that the amount of his loss, which is the

subject of this lawsuit, is $137,200.00. (Hogge Decl. ¶ 10.) It is State Farm’s

belief that, although Plaintiff did not specify the amount of damages to be sought at

trial in his Complaint, the amount of contract damages sought by Plaintiff at the

trial of this case would be in excess of $75,000.00. Accordingly, the amount in

controversy exceeds $75,000.00, exclusive of interest and costs, as required by

28 U.S.C. § 1332(a).

                                          11.

      Venue is proper in this Court for purposes of removal under

28 U.S.C. § 1441(a), but not necessarily for purposes of 28 U.S.C. § 1391 or any

other applicable venue provision. By filing this Notice of Removal, State Farm

does not waive any of its jurisdictional objections or affirmative defenses.

      WHEREFORE, State Farm prays that this action proceed in this Court as an

action properly removed pursuant to 28 U.S.C. § 1446, and that no further

proceedings be had in said case in the Superior Court of Fulton County, Georgia.




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      This 24th day of February, 2021.

                                         Respectfully submitted,

                                         SWIFT, CURRIE, McGHEE & HIERS

                                         /s/ Kristen M. Vigilant
                                         Rebecca E. Strickland
                                         Georgia Bar No. 358183
                                         Kristen M. Vigilant
                                         Georgia Bar No. 191460
                                         Attorneys for State Farm Florida
                                         Insurance Company

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                    LOCAL RULE 5.1C CERTIFICATION

      By signature below, counsel certifies that the foregoing pleading was

prepared in Times New Roman, 14-point font in compliance with Local Rule 5.1C.

      Respectfully submitted this 24th day of February, 2021.

                                         SWIFT, CURRIE, McGHEE & HIERS

                                         /s/ Kristen M. Vigilant
                                         Rebecca E. Strickland
                                         Georgia Bar No. 358183
                                         Kristen M. Vigilant
                                         Georgia Bar No. 191460
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                           CERTIFICATE OF SERVICE

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will send notification to the following attorney:

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                              The Hernan Law Firm, P.C.
                                 10896 Crabapple Road
                                Roswell, Georgia 30075
                                jamie@hernanfirm.com
                           Attorney for Plaintiff Lonnie Love

         This 24th day of February, 2021.

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                                         /s/ Kristen M. Vigilant
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